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                                                                4 of437
                                                                      of 37



                                          Loan, 2020 McGowen, L.L.C.
                              $1,375,000.00 Orig. Loan, Oct 12, 2015
                                          Loan Maturity, Nov 1, 2016


    Prinicipal Balance                                                 $   1,375,000.00
       Less Unfunded Construction Escrow                               $       (30,687.10)
       Less Impound Escrow                                             $          (1,391.10)

     Principal Sub‐Total                                               $   1,342,921.80

    Accrued Interest, at 12.00%                                        $         54,698.63
    Loan Reimburseable Charges                                         $           1,000.00
    Unpaid Late Fees                                                   $           2,062.50

      Total Loan Balance:                                              $   1,400,682.93



 Breakdown of Reimbursable Charges:

       Date                              Payee                         Amount
       6/22/2016                         Ben Williams, PLLC            $                 250.00
       3/31/2017                         Ben Williams, PLLC            $                 250.00
       4/11/2017                         Ben Williams, PLLC            $                 500.00
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                                               Deed of Trust and Security Agreement

                ·· NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU
                   MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION
                   FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY
                   BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
                   SECURITY NUMBER OR YOUR DRIVER'S LICENSE NUMBER

                                                               Terms

                  Date:          October /   Z-; 2015
                  Grantor:       2020 MCGOWEN, LLC, a Texas limited liability company

                  Grantor's Mailing Address:            832 Yale Street
                                                        Houston, Texas 77007

                  Trustee:       BENJAMIN K. WILLIAMS                                                        1TR

                  Trustee's Mailing Address: 12710 Research Blvd., Suite 115
co                                               Austin, Texas 78759
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0                 Lender:        STALLION TEXAS REAL ESTATE FUND, LLC
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N                 Lender's Mailing Address: c/o Stallion Funding, LLC
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LO
                                                 12710 Research Blvd., Suite 115
('...                                            Austin, Texas 78759
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0::               Obligation
w
                          Note

                                 Date: of even date hereof

                                 Original principal amount: $1,375,000.00

                                 Borrower:       2020 MCGOWEN, LLC,
                                                 a Texas limited liability company

                                 Lender:         STALLIONTEXASREALESTATEFUND, LLC                            1EE
                                 Maturity date:         November 1, 2016



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                                                           DocumentPage
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                                                                        9 of937
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             Property (including any improvements):

                    Lot(s) 13 through 17, in Block l of VIEWPOINT SQUARE REPLATNO. 2, a
                    subdivision in Harris County, Texas according to the map or plat thereof recorded


                                                                                                                    I
                    in Film Code No. 674645 of the Map and/or Plat Records of Harris County,                            D
                    Texas.

                    Together with the following personal property:

                    All fixtures, supplies, building materials, and other goods of every nature now or
                    hereafter located, used, or intended to be located or used on the Property;

                    All plans and specifications for development of or construction of improvements
                    on the Property;

                    All contracts and subcontracts relaliJtg to the construction of improvements on the
                    Property;

                    All accounts, contract lights, instruments, documents, general intangibles, and
                    chattel paper arisillg from or by virtue of any transactions relating to the Property;
0)
~                   All permits, licenses, francruses, certificates, and other rights and privileges
0                   obtained in connection with the Property;
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    I
0)                  All proceeds payable or to be payable under each policy of insurance relating to
NI                  tho Property; nod
L{)
I'                  All products and proceeds of the foregoing.
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0::::               Notwithstanding any other provision in this deed of trust, the term "Property"
w                   does not include personal effects used primarily for personal, family, or household
                    purposes.

             Prior Lien: None

             Other Exceptions to Convcynnce nnd Warranty:

                    Subject to the easements, assessments, restrictions, mineral interests and
                    covenants of record against the herein described property, if any.

                    For value received and to secure payment of the Obligation, Grantor conveys the Property
             to Trustee in trust. Granter warrants and agrees to defend tbe title to the Property, subject to the
             Other Exceptions to Conveyance and Wat'ranty. On payment of the Obligation and all other
             amounts secured by this deed of trust, this deed of trust will have no further effect, and Lender

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                                                           DocumentPage
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                                                                        10 of
                                                                           1037
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              will release it at Grantor's expense.

              Clauses and Covenants

             A.        Gl'nntor's Obligations

                       Grantor agrees to-

                       1.       keep the Property in good repair amt condition;

                       2.       pay all taxes and assessments on the Property before delinquency, not authorize a
                                truting entity to transfer its tax lien on the Property to anyone other than Lender,
                                and not request a deferral of tile collection of taxes pursuant to section 33.06 of
                                the Texas Tax Code;

                    3.      defend title to the Property subject to the Other Exceptions to Conveyance and
              Warranty and preserve the lien's priority as it is established in this deed of trust;

                      4.     maintain all insurance coverages with respect to the Property, l'evenues generated
             by the Property, and operations on the Property that Lender reasonably requires ("Required
             Insurance Coverages"), issued by insurers and written on policy fonns acceptable to Lender, and
             a.'! to property loss, that arc payable to Lender under policies containing standard mortgagee
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I.()         clauses, and deliver evidence of the Required Insurance Coverages in a form acceptable to
0            Lender at least ten days before the expiration of the Required Insurance Coverages;
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(j)                    5.       obey all laws, ordinances, and restrictive covenants applicable to the Property;
NI
I.()                   6.       keep any buildings occupied as required by the Required Insurance Coverages;
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                      7.      if the lien of this deed of trust is not a first lien, pay or cause to be paid all prior
0:::          lien notes and abide by or cause to be abided by all prior lien instn1mcnts; and
w
                       8.       notify Lender ofaoy change ofaddrcss.

             B.        Lender's Rights

                     1.     Lender or Lender's mortgage servicer may appoint in writing one or more
             substitute trustees, succeeding to all rights and responsibilities of Trustee. Such written
             appointments need not be filed in the Official Public Records of the county where the property is
             located or in any other public or governmental records in order to be effective. All rights,
             remedies and duties of Trustee under this Deed of Trust may be exercised or performed by one or
             more trustees acting alone or together.

                            a. Lender, at its option and with or without cause, may from time to time, by power
                               of attomey or otherwise, remove or substitute any trustee, add one or more

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                                                                 DocumentPage
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                                                                              11 of
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                                      trustees, or appoint a successor trustee to any Trustee without the necessity of o.ny
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                                      formality other than a designation by Lender in writing. Without any further act
                                      or conveyance of the Property the substitute, additional or successor trustee shall
                                      become vested with the title, rights, remedies, powers and duties conferred upon
                                      Trustee herein and by Applicable Law.

                                b. Neither the Trustee named herein nor any Trustee who may act hereunder shnU in
                                   any way be disqualified .from 11cting as such Trustee for the reason that he may
                                   now be, may become or at any applicable time may be a manager, director, an
                                   officer, an employee, a shareholder, an agent, or an attorney of Beneficiary or may
                                   be otherwise related to BcncficiaJ"Y.

                                c. Trustee shall not be liable if acting upon any notice, request, consent, demand,
                                   statement or other document believed by Trustee to be correct. Tn1stec shall not
                                   be liable for any act or omission unless such act or omission is willful.

                          2.      If the proceeds of the Obligation are used to pay auy debt secured by prior Hens,
                    Lenderis subrogated to all the rights and liens of the holders of any debt so paid.

                           3.      Lender may apply any proceeds received under the property insurance policies
                    covering the Property either to reduce the Obligation or to repair or replace damaged or destroyed
                    improvements covered by the policy. If the Property is Grantor's primarY residence and Lender
T"""
I{)                 reasonably determines that repairs to the improvements are economically feasible, Lender will
0                   make the property insurance proceeds available to Grantor for repall's.
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O>                          4.     Notwithstanding the tenns of the Note to the contrarY, and unless applicable law
N                  prohibits, all payments received by Lender from Grantor with respect to the Obligation or this
    I
I{)                deed of trust may, at Lender's discretion, be applied first to amounts payable under this deed of
f'...              trust and then to amounts due and payable to Lender with respect to the Obligation, to be applied
o                  to late charges, principal, or interest in the order Lender in its discretion determines.
0:::
w                         5.      If Grantor fails to perfo1m any of Grantor's obligations, Lender may perform
                   those obligations and be reimbursed by Grnntor on demand for any amounts so paid, including
                   attorney's fees, plus interest on those amounts from the dates of payment at the rate stated iu the
                   Note for matured, unpaid amounts. The amount to be reimbursed will be secured by this deed of
                   trust.

                           6.         COLLATERAL PROTECTION INSURANCE NOTICE

                           In accordance with the provisions of section 307.052(a) of the Texas Finance Code,
                    the Beneficiary hereby notifies the Gran tor as follows:

                                (A)                                                      ~e Grantor is   required to:

                                       (i)                 lcccp the collatel·nl insured against damage in the
                                             amount the Lender specifics;
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                                                           DocumentPage
                                                                      Page
                                                                        12 of
                                                                           1237
                                                                              of 37




                                     (ii)                    purchase the insurance from ao insurer that is
                                             authorized to do business in the state of Texas or an eligible surplus
                                             lines insurer; and

                                     (iii)                   name the Lender as the person to be paid under the
                                             policy in the event of a loss;

                        (B)             _the Gnmtor must, if r equired by the Lender, deliver to the
                    Lender a copy of the policy and proof of the payment of premiums; and

                         (C)             if the Grantor fails to meet any requirement listed in Parngraph
                    (A) or (B), the Lender may obtain collateral protection insurance Oll behalf of the
                    Grautor at the Grantor's expense.

                     7.     If there is a default on the Obligation or if Grantor fails to perfonn any of
             Grantor's obligations and tlte default continues after any required notice of the default and the
             time allowed to cure, Lender may-

                                a.           declare the unpaid principal balance and earned interest on the Obligation
                                             immediately due;

                                b.           exercise Lender's rights with respect to rent under the Texas Property
N                                            Code as then in effect;
l.()
0                               c.           direct Trustee to foreclose this lien, in which case Lender or Lender' s
0                                            agent will cause notice of the foreclosure sale to be given as provided by
  I
O>                                           the Texas Properly Code as then in effect; and
NI
l.()                            d.           purchase the Property at any foreclosure sale by offering the highest bid
I'                                           and then have the bid credited on the Obligation.
0
0::::               8.     Lender may remedy any default without waiving it and may waive any default
w            wi1hout waiving any prior or subsequent default.

             C.          Trustee's Rights and Duties

                         If directed by Lender to foreclose this lien, Trustee will-

                    1.     either personally or by agent give notice of the foreclosure sale as required by the
             Texas Property Code as then in effect;

                    2.      sell and convey all or part of the Property "AS IS'~ to the highest bidder for cash
             with a general warranty binding Grantor, subject to the Prior Lien and to the Other Exceptions to
             Conveyance and Warranty and without representation or warranty, express or implied, by
             Trustee;


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                                                           DocumentPage
                                                                      Page
                                                                        13 of
                                                                           1337
                                                                              of 37




                     3.     from the proceeds of the sale, pay, in this order-

                            a.      expenses of foreclosure, including a reasonable commission to Trustee;

                            b.      to Lender, the full amount of principal, interest, attorney's fees, and other
                                    charges due and unpaid;

                            c.      any amounts required by law to be paid before payment to Grantor; and

                            d.      to Grantor, any balance; and

                     4.     be indemnified, held hrumJess, and defended by Lender against all costs,
             expenses, and liabilities incurred by Trustee for acting in the execution or enforcement of the
             trust created by this deed of trust, which includes all court and other costs, including attorney's
             fees, incurred by Trustee in defense of any action or proceeding taken against Trustee in that
             capacity.

             D.     General Provisions

                     1.     If any of the Property is sold under this deed of trost, Gt'antor must immediately
             surrender possession to the purchaser. ff Grantor fails to do so, Grantor will become a tenant at
('I')        sufferance of the purchaser, subject to an action for.forcible detainer.
I.{)
0                   2.      Recitals in any trustee's deed conveying the Property will be presumed to be true.
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(j)                  3.    Proceeding under this deed of trust, filing suit for foreclosure, or pursuing any
NI           other remedy will not constitute an election of remedies.
I.{)
f'-                  4.       This lien will remain superior to liens later created even if the time of payment of
0
             all or part of the Obligation is extended or part of the Property is released.
0:::
w                  5.      If any portion of the Obligation cannot be lawfully secured by this deed of trust,
             payments will be applied first to discharge that portion.

                      6.      Grantor assigns to Lender all amounts payable to or received by Grantor from
             condemnntion of all or part of the Property, from private sale in lieu of condemnation, and from
             damages caused by public works or construction on or near the Property. After deducting any
             expenses incun'e<l, inclurung attorney's fees and court and other costs, Lender will either release
             any remaining amounts to Grantor or apply such amounts to reduce the Obligation. Lender will
             not be liable for failure to collect or to exercise diligence in collecting any such amounts. Grnntor
             will immediately give Lender notice of any actual or threatened proceedings for condemnation of
             all or part of the Property.

                    7.    Grantor assigns to Lender absolutely, not only as collateral, all present and future
             rent and other income and receipts from the Property. Grautor warrants the validity and

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                                                       on 02/18/18
                                                           DocumentPage
                                                                      Page
                                                                        14 of
                                                                           1437
                                                                              of 37




               enforceability of the assignment. Granter may as Lender's licensee collect rent and other income
               and receipts as long as Grantor is not in default with respect to the Obligation or this deed of
                                                                                                                      l
               trust Grantor will apply all rent and other income and receipts to payment of the Obligation and       I
             . performance of this deed of trust, but if the rent and other income and receipts exceed the amount     l
               due with respect to the Obligation and the deed of trust, Granter may retain the excess. If Grantor    !.


                                                                                                                      I
               defaults in payment of the Obligation or performance oft.his deed of trust, Lender may terminate
               Grantor's license to collect rent and other income and then as Grantor's agent may rent the
               Property and collect all rent and other income and receipts. Lender neither has nor assumes auy
               obligations as lessor or landlord with respect to any occupant of the Property. Lender may
               exercise Lender's rights and remedi~ under 1his paragraph without taking possession of the             i
               Property. Lender will apply all rent and other income and receipts collected under this paragraph
               first to expenses incurred in exercising Lender's rights and remedies and then to Grantor's
               obligations with respect to the Obligation and this deed of trust in the order determined by
               Lender. Lender is not required to act under this paragraph. and acting under this paragraph does
               not waive any of Lender's other rights or remedies. If Grantor becomes n voluntary or
               involuntary debtor in bnn.lauptcy, Lender's filing a proof of claim in bankruptcy will be deemed
               equivalent to the appointment of a receiver under Texas law.

                      8.     Interest on the debt secured by this deed of trust will not exceed the maximum
             amount of nonusurious interest that may be contracted for, taken, reserved, charged, or received
             under law. Any interest in excess of that maximum amount will be credited on the principal of
'V           the debt or, if that has been paid, refunded. On any acceleration or required or pennitted
I.{)         prepayment, any such excess will be canceled automatically as of the acceleration or prepayment
0            or, if already paid, credited on the principal of the debt or, if the principal of the debt has been
0            paid, refunded. This provision overrides any conflicting provisions in this and all other
    I
(j)          instnunents concerning the debt
NI
I.{)                9.      In no event may this deed of trust secure payment of any debt that may not
f'-          lawfully be secured by a lien on real estate or create a lien otherwise prohibited by law.
0
0:::                 10.     If Grantor transfers any pait of the Property without Lender's prior written
w            consent, Lender may declare the Obligation immediately payable and invoke any remedies
             provided in this deed of trust for default. If the Property is residential real prope1ty containing
             fewer than five dwelling units or a re~idcntial manufactured home, this provision does not apply
             to (a) a subordinate lien or encumbrance that does not transfer rights of occupancy of the
             Property; (b) creation ofa purchase-money security interest for household appliances; (c) transfer
             by devise, descent, or operation of law on the death of a co-Granter; (d) grant of a leasehold
             interest of three years or less without an option to purchase; (e) transfer to a spouse or children of
             Grantor or between co-Gnmtors; (f) transfer to a relative of Grantor on Grantor's death; (g) a
             transfer resulting from a decree of a clissolution of marriage, a legal separation ag,reement, or an
             incidental property settlemettt agreement by which the spouse of Grantor becomes an owner of
             the Property; or (h) transfer to an inter vivos trust in which Grantor is and remains a beneficiary
             and occupant of the Property.

                     11.     Granter may not sell, transfer, or otherwise dispose of any Property, whether

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                                                            DocumentPage
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                                                                         15 of
                                                                            1537
                                                                               of 37




                voluntarily or by operation of law, without the prior written consent of Lender. If granted,
                consent may be ·conditioned upon (a) the grantee's integrity, reputation, character,
                creditworthiness, and management ability being satisfactory to Lender; and (b) the grantee's
              - executing, before such sale, transfer, or other disposition, a written assumption agreement
                containing any tenns Lender may require, such as a principal pay down on the Obligation, an
                increase in the rate of interest payable with respect to the Obligation, a transfer fee, or any other
                modification of the Note, this deed of'trust, or any other instruments evidencing or securing the
                Obligation.
                        Grantor may not cnuse or permit any Property to be encumbered by any liens, security
                interests, or encumbrances other than the liens securing the Obligation and the liens securing ad
                valorem taxes not yet due and payable without the prior written consent of Lender. If granted,
                consent may be conditioned upon Grantor's executing, before granting such lien, a written
                modification agreement containing any terms Lender may require, such as a principal pay down
                on the Obligation, an increase in the rate of interest payable with respect to the Obligation, an
                approval fee, or any other modification of the Note, this deed of trust, or any other instruments
                evidencing or securing the Obligation.

                      Grantor may not grant any lien, security interest, or other encumbrance (a "Subordinate
               Instrument") covering the Properly that is subordinate to the liens created by this deed of trust
               without the prior written consent of Lender. If granted, consent may be conditioned upon the
               Subordinate Instrument's containing express covenants to the effect that-
lO
lO                             a.     the Subordinate Instrument is unconditionally subordinate to this deed of
0                                      trust;
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    I
O>                             b.     if any action is instituted to foreclose or otherwise enforce the Subordinate
NI                                    Instrument, no action may be taken that would terminate any occupancy or
lO                                    tenancy without the prior written consent of Lender, and that consent, if
,.....                                granted, may be conditioned in any manner Lender determines;
0
~                             c.      rents, if collected by or for the holder of the Subordinate Instnnnent, will
w                                     be applied first to the payment of the Obligation then due and to expenses
                                      incurred in the ownership, operation, and maintenance of the Property in
                                      any order Lender may dctcnnine, before being applied to any indebtedness
                                      secured by the Subordinate Instrument;
                              d.      written notice of default under t11e Subordinate Instrument and written
                                      notice of the commencement of any action lo foreclose or otherwise
                                      enforce the Subordinate Instrument must be given to Lender concurrently
                                      with or immediately after the occurrence of any such default or
                                      commencement; and

                              e.      in the event of the bankruptcy of Grantor, all amounts due on or with
                                      respect to the Obligation and this deed of trust will be payable in full
                                      before any payments on the indebtedness secured by the Subordinate
                                      Instrument.

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                                                            DocumentPage
                                                                       Page
                                                                         16 of
                                                                            1637
                                                                               of 37




                          Granter may not cause or permit any of the following events to occur without the prior
                 written consent of Lender: if Granter is (a) a corporation, the dissolution of the corporation or the
                  sale, pledge, encumbrance, or assignment of any shares of its stock; (b) a limited liability
            ---· company, the dissolution of the company or the sale, pledge, encumbrance, or assignment of any
                  of its membership interests; (c) a general partnership or joint venture, the dissolution of the
                 partnership or venture or the sale, pledge, encumbrance, or assignment of any of its partnership
                 or joint venture interests, or the withdrawal from or admission into it of any general partner or
                 joint venturer; or (d) a limited partnership, (i) the dissolution of the partnership, (ii) the sale,
                 pledge, encumbrance, or assignment of any of its general partnership interests, or the withdrawal
                 from or adnrission into it of any general partner, (iii) the sale, pledge, encumbrance, or
                 assignment of a controlling portion of its limited partnership interests, or (Iv) the withdrawal
                 from or admission into it of any controlling limited partner or partners. If granted, consent may
                 be conditioned upon (a) the integrity, reputation. character, creditworthiness, and management
                 ability of the person succeeding to the ownership interest in Granter (or security interest in such
                 ownership) being satisfactory to Lender; and (b) the execution, before such event, by the person
                 succeeding to the interest of Grantor in the Property or ownership interest in Granter: (or security
                 interest in such ownership) of a written modification or assump1ion agreement containing such
                 terms as Lender may require, such as a principal pay down on the Obligation, an increase in the
                 rate of interest payable with respect to the Obligation, a transfer fee, or any other modification of
                 the Note, this deed of trust, or any other instruments evidencing or securing the Obligation.

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                       12.      When the context requires, singular nouns nnd pronouns include the plural.
0                      13.   The term Note includes all extensions, modifications, and renewals of the Note
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    I          nnd all amounts secured by this deed of trust.
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                       14.     This deed of trust binds, benefits, and may be enforced by the successors in
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,.....         interest of all parties.
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                     15.       If Grantor and Borrower are not the same person, the term Grantor includes
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               Borrower.
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                       16.    Granter and each surety, endorser, and guarantor of the Obligation waive all
               demand for payment, presentation for payment, notice of intention to accelerate maturity, notice
               of acceleration of maturity, protest, and notice of protest, to the extent permitted by Jaw.

                      17.     Granter agrees to pay reasonable attorney's fees, trustee's fees, and court and
               other costs of enforcing Lender's rights under this deed of trust if this deed of trust is placed in
               the hands of an attorney for enforcement.

                       18. If any provision of this deed of trust is determined to be invalid or unenforceable,
               the validity or enforceability of any other provision will not be affected.

                       19.     The term Lender includes any mortgage servicer for Lender.


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       Case
          Case
            17-32788
               17-32788
                      Claim
                         Document
                            2 Filed79-1
                                    12/29/17
                                        Filed inDesc
                                                 TXSBMain
                                                      on 02/18/18
                                                          DocumentPage
                                                                     Page
                                                                       17 of
                                                                          1737
                                                                             of 37




                    20.         Grantor represents that this deed of trust and the Note are given for the following
             purposes:

                     The Note renews and extends the balance of$ ;!10{,q~/. Y~ thnt Grantor owes
             o.n a prior note in the original principal amount of ONE MILLION THREE HUNDRED FOUR
             THOUSAND FORTY-TWO AND 18/100 DOLLARS ($1,304,042.18), which is dated June 12,
             2014, executed by 2020 McGowen, LLC, a Texas limited liability company, and payable to the
             order of Viewpoint Development, L.L.C., a Texas limited liability company. The prior note is
             more fully described in and secured by a deed of trust on the Property, which is dated June 12,
             2014, and recorded under Clerk's File No. 20140266017 of the Real Property Records of Harris
             County, Texas.

                     The balnnce of the indebtedness is for construction of i~provemen~ to the Property.

                    Grantor .warrants to Lender and agrees !hat the proceeds of the Note will be used
             primarily for business or commercial purposes and not primarily for personal, family, or
             household purposes.

                     Grantor warrants to Lender that the Property will not be used as the Grantor's residence
             during the term of the Obligation.

l'-                  21.    This conveyance is also made in trust to secure payment of all other present and
1.0          future debts that Granter may owe to Lender, regardless of how any other such debt is incurred or
0            evidenced. Payment on all present and future debts of Granter to Lender will be made at c/o
0            Stallion Funding, LLC, 12710 Research Blvd, Suite 115, Austin, Texas 78759, in Travis County,
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O')          Texas, and the debts wiU bear interest as provided in notes or other evidences of debt U13t
NI           Granter will give lo Lender. This conveyance is also made to secure payment of any renewal or
l.O          extension of any present or future debt that Grantor owes to Lender, including any loans and
l'-          advancements from Lender to Grantor under the provisions of this deed of trust When Grantor
0
             repays all debts owed to Lender, this dced-oHrust lien will terminate only if Lender releases thls
O'::         deed of trust at the request of Grantor. Until Lende1· releases it, this deed of trust will remain fully
w            in effect to secure other present and future advances and debts, regardless of any additional
             security given for any debl and regardless of any modification.

                    22.    Granter will furnish to Lender or other holder of the Note annually, before tllxes
             become delinquent, copies of tax receipts showing that all taxes on the Property have been paid.
             Grantor wiU arumally furnish to Lender or other holder of the Note evidence of current paid-up
             insurance naming Lender or other holder of the Note as an insured.

                    23.    As used in this Section 23: (a) ..Hazardous Substances" are those substances
            defined as toxic or hazardous substnnces, pollutants, or wastes by Environmental Law and the
            following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic
            pesticides and herbfoides, volatile solvents, materials containing asbestos or fonnaldehyde, and
            radioactive materials; (b) "Environmental Law" means federal laws and laws of the jurisdiction
            where the Property is located that relate to health, safety or environ.mental protection;

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           Case
             17-32788
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                             2 Filed79-1
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                                                       on 02/18/18
                                                           DocumentPage
                                                                      Page
                                                                        18 of
                                                                           1837
                                                                              of 37




             (c) "Environmental Cleanup" includes any response action, remedial action, orremoval action, as
             defined in Environmental Law; and (d) an "Environmental Condition" means a condition that
             can cause, contribute to, or otherwise trigger an Environmental Cleanup.

                     Granter shall not cause or permit the presence, use, disposal, storage, or release of any
             Hazardous Substances, or threaten to release any Hazardous Substances, on or in the Property.
             Grantor shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in
             violation of any Environ.mental Law, (b) which creates an Environmental Condition, or
             (c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that
             advt:rseJy affects the value of the Property. The preceding two sentences shall not apply to the
             presence, use, or storage on the Property of small quantities of Hazardous Substances that are
             generally recognized to be appropriate to normal residential uses and to maintenance of the
             Property (including, but not limited to, hazardous substances in consumt:r products).

                     Grnntor shall ptomptly give Lender written notice of (a) any investigation, chum,
             demand, lawsuit or other action by any governmental or regulatory agency or private party
             involving the Property and any Hazardous Substance or Environmental Law of which Orantor
             has actual knowledge, (b) any Environmental Condition, including but not limited to, any
             spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
             condition caused by the presence, use or release of a Hazardous Substance which adversely
             affects the value of the Property. If Orantor learns, or is notified by any governmental or
o::>         regulatory authority, or any private party, that any removal or other remediation of any
l.()         Hazardous Substance affecting the Property is necessary, Granter shall promptly take all
0            necessary remedial actions in accordance with Environmental Law. Nothing herein shall create
0            any obligation on Lender for an Environmental Cleanup.
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NI                   24.      Granter agrees to deliver to Lender, at Lender's request from time to time,
l.()         financial statements of Grantor and each guarantor of the Note prepared in accordance with
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             generally accepted accounting principles consistently applied, in detail reasonably satisfactory to
             Lender and certified to be tJ.ue and correct by Grantor.
w                   25.    In addition to creating a deed-of-trust lien on all the real and other property
             described above, Granter also grants to Lcndt:r a security interest in all of the above-described
             personal property pursuant to and to the extent pcnnitted by the Texas Uniform Commercial
             Code.

                     In the event of ll foreclosure sale under this deed of trust, Gra.ntor agrees that all the
             Property may be sold ns a whole at Lender's option and that the Property need not be present at
             the place of sale.

             E.     Construction Loan Mortgage

                    1.      This deed of trust is a "construction mortgage" within the meaning of section
             9.334 of the Texas Business and Commerce Code. The liens and security i11terests created and
             granted by this deed of tnist secure an obligation incurred for the construction of improvements

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           Case
             17-32788
                17-32788
                       Claim
                          Document
                             2 Filed79-1
                                     12/29/17
                                         Filed inDesc
                                                  TXSBMain
                                                       on 02/18/18
                                                           DocumentPage
                                                                      Page
                                                                        19 of
                                                                           1937
                                                                              of 37




             on land including the acquisition cost of the land, if any.

                    2.      Grantor agrees to comply with the covenants and conditions of the construction
             loan agreement, if any, executed in connection with the Note and th.is deed of trust. All advances
             made by Lender wider the construction loan agreement will be indebtedness of Grantor secured
             by the liens created by this deed of trust, and such advances are conditioned as provided in the
             construction loan agreement.

                      3.     All amounts disbursed by Lender before completion of the improvements to
             protect the security of this deed of trust up to the principal amount of the Note will be treated as.
             disbursements under the construction loan agreement. All such amounts will bear interest from
             the date of disbursement at the rate stated in the Note, unless collections from Grantor of interest
             at that rate would be contrary to applicable law, io which event such amounts will bear interest at
             the rate stated in the Note for matured, unpaid amounts and will be payable on notice from
             Lender to Grantor requesting payment.

                    4.       From ttme to time as Lender deems necessary to protect Lender's interests,
             Granto!' will, on request of Lender, execute and deliver to Lender, in such form as Lender directs,
             assignments of any and all rights or claims that relate to the construction of improvements on the
             Property.

0)                   5.      In case of breach by Grantor of the covenants and conditions of the construction
I.()         loan agreement, Lender, at its option, with or witl1out entry on the Property, may (a) invoke any
0            of the rights or remedies provided in the construction loan agreement, (b) accelerate the amounts
0            secured by this deed of trust and invoke the remedies provided in this deed of trust, or (c) do
    I
0)           both.
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I.()                 6.      If, after commencement of amortization of the Note, the Note and this deed of
f'..         trust are sold by Lender, after the sale the construction loan agreement will cease to be a part of
o            this deed of trust. and Grantor will not assert any right of setoff, counterclaim, or other claim or
0:::         defense arising out of or in connection with the construction loan agreement against the
w            obligations of the Note and lhis deed oft111st.



                                                               2020 MCGOWEN, LLC
                                                               a Texas limited liability company



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                                        Filed inDesc
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                                                      on 02/18/18
                                                          DocumentPage
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                                                                       20 of
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            THE STATE OF TEXAS

          ... .COUNTYOF       1-\0\'"l-'i G
                  This instrument was acknowledged before roe on the ~ day of October, 2015 by
            TERRY J. FISHER, as Manager of 2020 MCGOWEN, LLC, a Texas limited liability company   10R
            on behalf of said limited liability company.




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          Case
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                                        Filed inDesc
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0:::                RECORDERS MEMORANDUM
w                   This instrument was received and recorded electronically
                    and any blackouts, additions or changes were present
                    at the time the instrument was filed and recorded.




                    Any provision herein which restricts the sale, rental, or
                    use of the described real property because of color or
                    race is invalid and unenforceable under federal law.
                    THE STATE OF TEXAS
                    COUNTY OF HARRIS
                    I hereby certify that this instrument was FILED in
                    File Number Sequence on the date and at the time stamped
                    hereon by me; and was duly RECORDED in the Official
                    Public Records of Real Property of Harris County, Texas.



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     17-32788
        17-32788
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                             12/29/17
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                                                   DocumentPage
                                                              Page
                                                                22 of
                                                                   2237
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   Case
     17-32788
        17-32788
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                             12/29/17
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                                                   DocumentPage
                                                              Page
                                                                23 of
                                                                   2337
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        17-32788
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                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
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     17-32788
        17-32788
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                                                   DocumentPage
                                                              Page
                                                                25 of
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     17-32788
        17-32788
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                                                   DocumentPage
                                                              Page
                                                                26 of
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        17-32788
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                  Document
                     2 Filed79-1
                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                27 of
                                                                   2737
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     17-32788
        17-32788
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                  Document
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                             12/29/17
                                 Filed inDesc
                                          TXSBMain
                                               on 02/18/18
                                                   DocumentPage
                                                              Page
                                                                28 of
                                                                   2837
                                                                      of 37
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     17-32788
        17-32788
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                                                   DocumentPage
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                                                                29 of
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     17-32788
        17-32788
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                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                30 of
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     17-32788
        17-32788
               Claim
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                     2 Filed79-1
                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                31 of
                                                                   3137
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     17-32788
        17-32788
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                     2 Filed79-1
                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                32 of
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   Case
     17-32788
        17-32788
               Claim
                  Document
                     2 Filed79-1
                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                33 of
                                                                   3337
                                                                      of 37
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     17-32788
        17-32788
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                     2 Filed79-1
                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                34 of
                                                                   3437
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     17-32788
        17-32788
               Claim
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                             12/29/17
                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                35 of
                                                                   3537
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     17-32788
        17-32788
               Claim
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                                 Filed inDesc
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                                                   DocumentPage
                                                              Page
                                                                36 of
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                                                                      of 37
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     17-32788
        17-32788
               Claim
                  Document
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                                                   DocumentPage
                                                              Page
                                                                37 of
                                                                   3737
                                                                      of 37
